                                                                                    DISTRICT OF OREGON
                                                                                         FILED
                                                                                        March 27, 2019
                                                                                 Clerk, U.S. Bankruptcy Court



         Below is an order of the court.




                                                                  _______________________________________
                                                                            PETER C. McKITTRICK
                                                                            U.S. Bankruptcy Judge




                                  UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF OREGON

 In re                                                    ) Case No.     16-33185-pcm7
                                                          )
 PETER SZANTO,
                                                          ) Application to Employ Attorney,
                                                          ) Attorney Certification,
Debtor(s)                                                 ) And Order Thereon

 The undersigned trustee applies to employ Gary L. Blacklidge and Jordan Ramis, P.C.                       ,
 OSB# 902089 , whose address is 2 Centerpointe Drive, #600, Lake Oswego, OR 97035                          ,
 as attorney to assist in the estate's administration, and certifies that:

 1. The proposed method of compensation (e.g., hourly rate) is:

     Hourly $370. Paralegal hourly rate is $220.
 2. The trustee estimates that the total legal fees for services to the estate will be $ _____________.
                                                                                             50,000
    If the estimate is $15,000 or greater, the trustee represents that proposals to provide the services
    were solicited from at least two different firms and such proposals were considered in view of the
    trustee's fiduciary duty to economically administer the estate.

 3. The trustee will require the assistance of the attorney to provide the following legal services:

     a. Discrete matters (for each matter, describe the matter and the potential benefit to the estate).
         1. Represent the Trustee in Amborn v. HSBC and related matters pending in Singapore to
            recover property the debtor transferred post conversion and related matters.
         2. Represent the Trustee in Amborn v. Yankee Trust Corp. and pending appeals.
         3. Represent the Trustee as appellee in debtor's appeal of 60(b) motion to vacate
            conversion order.
         4. Represent the Trustee in appeal as to court's denial of Claim No. 14.

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    b. Incidental legal services to the trustee regarding the administration of the estate. Fees for the
       services shall not exceed the greater of $1,000 or 10% of the total compensation requested by
       the attorney.

 4. The trustee selected the above-named attorney because:

    Familiarity with case and bankruptcy knowledge.

 5. To the best of the trustee’s knowledge, the attorney has no connections with the entities listed in the
    verification below, except as described therein.
         Mr. Blacklidge was previously employed by Steven Arnot, the former Trustee. Mr. Arnot is now employed by the office
         of the U.S. Trustee.




Date: _____________________
            03/26/2019                              _________________________________________________
                                                    /s/ Candace E. Amborn
                                                    Trustee

 I, the attorney named above, verify that:
      1) I will be the trustee's attorney of record;
      2) I have read 11 U.S.C. § 101(14) and § 327, and FRBP 2014(a); and
      3) my firm has no connections with the debtor(s), creditors, any other party in interest, their
          respective attorneys and accountants, the U.S. Trustee, any person employed in the office of the
          U.S. Trustee, or any District of Oregon bankruptcy judge, except as follows:
    4)   I worked with the former Trustee, Steven Arnot, at Williams Kastner Greene & Markley, before I
         changed firms in February 2019, and for the former Trustee at Jordan Ramis, PC.


Date:          03/26/2019                           ________________________________________________
                                                    /s/ Gary L. Blacklidge                 902089
                                                    Attorney at Law                     OSB #

 The undersigned, Patricia A. Repp                                                , certifies that on    03/26/2019
 this application was submitted to the court.

                                                    ________________________________________________
                                                    /s/ Patricia A. Repp
                                                    Signature

 IT IS ORDERED that employment of the above-named attorney is authorized retroactively to the date
 upon which the application was submitted to the court as certified above; and that compensation of the
 attorney will be authorized upon compliance with local procedures and subject to review pursuant to 11
 U.S.C. § 330.

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